                         IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF ARIZONA
                                     PHOENIX DIVISION


                                                      )
   In re                                              )     Chapter 7
                                                      )
   SEAN H CANNOLES and                                )     Case No. 2:18-bk-15054-MCW
   VICTORIA L CANNOLES,                               )
   Debtor(s)                                          )     BANKRUPTCY JUDGE
                                                      )     MADELEINE C WANSLEE




                     REQUEST OF PRA RECEIVABLES MANAGEMENT, LLC
               FOR SERVICE OF NOTICES PURSUANT TO FED. R. BANKR. P. 2002(g)

   PLEASE TAKE NOTICE that PRA Receivables Management, LLC, as authorized agent for Synchrony

   Bank (Walmart Credit Card [Last four digit of account:0986]), a creditor in the above-captioned chapter 7

   case, requests, pursuant to Rules 2002 and 9007 of the Federal Rules of Bankruptcy Procedure (the

   Bankruptcy Rules) and sections 102(1), 342 and 1109(b) of title 11 of the United States Code, 11 U.S.C.

   §§ 101, et seq. (as amended, the Bankruptcy Code), that all notices given or required to be given and all

   papers served or required to be served in this case be also given to and served, whether electronically or

   otherwise, on:
               Synchrony Bank
               c/o PRA Receivables Management, LLC
               PO Box 41021
               Norfolk, VA 23541
               Telephone: (877)885-5919
               Facsimile: (757) 351-3257
               E-mail: claims@recoverycorp.com


   Dated: Norfolk, Virginia
   December 13, 2018
                                                          By: /s/ Valerie Smith
                                                          Valerie Smith
                                                          c/o PRA Receivables Management, LLC
                                                          Senior Manager
                                                          PO Box 41021
                                                          Norfolk, VA 23541
                                                          (877)885-5919

   Assignee Creditor: Walmart Credit Card [Last four digit of account:0986]




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